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 7
                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
 9

10         UNITED STATES OF AMERICA,                   CASE NO. CR19-0194JLR

11                             Plaintiff,              ORDER DENYING THIRD
                  v.                                   PARTY MOTION TO QUASH
12                                                     SUBPOENA
           ANTHONY EDWIN PAUL, et al.,
13
                               Defendants.
14

15         Before the court is the Washington State Department of Revenue’s (“DOR”)

16   third-party motion to quash subpoena. (Mot (Dkt. # 69).) DOR seeks to quash the

17   subpoena duces tecum served on it by Defendant Anthony Edwin Paul in which Mr. Paul

18   seeks information relating to Washington state taxes paid by non-party TK Mac

19   Enterprises (“TK Mac”). (See Fitzpatrick Decl. (Dkt. # 69-1) ¶ 4 & Ex. 1 (“Subpoena”).)

20   Mr. Paul opposes DOR’s motion, and the Government has not responded to the motion.

21   (Resp. (Dkt. # 71); see generally Dkt.) Having considered DOR’s motion, Mr. Paul’s

22   //


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 1   response, the relevant portions of the record, and the applicable law, the court DENIES

 2   DOR’s motion to quash.

 3                                      I.     BACKGROUND

 4          Mr. Paul is the president of multiple smoke shops that are located on the Puyallup

 5   Indian Reservation and licensed by the Puyallup Tribe. (Mot. to Expedite Subpoena

 6   (Dkt. # 51) at 1; Smith Mot. to Expedite Decl. (Dkt. # 52) ¶ 2.) Mr. Paul’s co-defendant 1

 7   Theodore Kai Silva was a manager of one of the smoke shops. (Smith Mot. to Expedite

 8   Decl. ¶ 2.) TK Mac is a non-Indian tobacco wholesaler and retailer that sold cigarettes

 9   and smokeless tobacco products to Mr. Paul’s smoke shops. (Mot. to Expedite Subpoena

10   at 2.) The Government alleges in a 16-count indictment that Mr. Paul and Mr. Silver

11   agreed with TK Mac’s owners, Tae Young Kim and Hyung Il Kwon, to commit wire

12   fraud and money laundering and to traffic in contraband smokeless tobacco products

13   between 2012 and 2017. (See generally Indictment (Dkt. # 1).) The indictment alleges

14   that a primary goal of the conspiracy was to aid TK Mac in evading taxes imposed on

15   tobacco products by DOR. (See, e.g., Indictment at ¶ 2.)

16          Neither TK Mac nor its owners are parties in this criminal case. (See generally

17   Indictment.) Mr. Paul, however, anticipates that Mr. Kim and Mr. Kwon, who are

18   cooperating witnesses and who have executed plea agreements admitting to certain

19   tax-related crimes, will serve as Government witnesses at trial. (Smith Mot. to Expedite

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21          1
               Mr. Silva entered into a plea agreement with the Government on September 22, 2020.
     (See generally Plea Agreement (Dkt. # 66).) Mr. Silva, therefore, is not a party to the subpoena
22   at issue in this motion. (See Resp. at 1 n.1.)


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 1   Decl. ¶ 14.) Mr. Paul states that he is aware that DOR conducted audits of TK Mac

 2   before he and Mr. Silva allegedly joined TK Mac’s conspiracy, and that DOR found in

 3   those audits that TK Mac had overstated tax credits for certain tobacco products. (Mot.

 4   to Expedite at 4-5; Smith Mot. to Expedite Decl. ¶ 5 & Ex. C.) Mr. Paul, therefore,

 5   argues that tax information relating to TK Mac is necessary for his trial preparation

 6   because it is relevant to the indictment, may have probative or exculpatory value, and

 7   may be useful for cross examination or impeachment of Mr. Kim, Mr. Kwong, and

 8   possible DOR witnesses. (See Mot. to Expedite at 2-3; Smith Mot. to Expedite Decl.

 9   ¶¶ 4-13.) Although Mr. Paul and Mr. Silva sought documents in discovery relating to

10   DOR’s audits or reviews of TK Mac’s excise tax returns for the period alleged in the

11   indictment, the Government was not in possession of such documents and therefore did

12   not provide those documents to Mr. Paul and Mr. Silva. (Smith Mot. to Expedite Decl.

13   ¶ 11.)

14            On September 10, 2020, Mr. Paul and Mr. Silva moved the court pursuant to

15   Federal Rule of Criminal Procedure 17(c) for issuance of a subpoena duces tecum to

16   DOR for pre-trial production of excise tax information relating to TK Mac. (Mot. to

17   Expedite Subpoena.) The subpoena requests the following categories of documents

18   relating to TK Mac and its owners from January 1, 2008 through December 31, 2017:

19            1. All Tobacco Products Tax Credit worksheets submitted by TK MAC;

20            2. All Schedule C2 (Smokeless Tobacco) forms submitted by TK MAC;

21            3. All Proposed or Final Audit Adjustment documents issued to TK MAC,
              including correspondence and worksheets;
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 1          4. Schedule C3 (Roll-Your-Own) tobacco forms submitted by TK MAC;

 2          5. Combined Excise Tax Returns (“CETR”) filed by TK MAC;

 3          6. Auditor’s Details of Differences and Instructions to Taxpayer issued to
            TK MAC;
 4
            7. Correspondence to or from TK MAC or its representatives and DOR;
 5
            8. Correspondence between the US Attorney’s Office and/or the Internal
 6          Revenue Service, on the one hand, and DOR, on the other, regarding TK
            MAC for anytime period through present day;
 7
            9. All documents pertaining to DOR’s reviews the Other Tobacco Product
 8          (“OTP”) tax credits taken by TK MAC on CETRs.

 9   (See Subpoena at Appendix A.) The Government did not oppose the motion. (See

10   generally Dkt.) On September 24, 2020, the court granted the motion to expedite

11   issuance of the subpoena. (9/24/2020 Order (Dkt. # 56).) Mr. Paul served the subpoena

12   on DOR on September 30, 2020. (See Subpoena at 1.)

13          Rather than comply with the subpoena, DOR filed the instant motion to quash on

14   October 5, 2020. (See generally Mot.) DOR objects to the subpoena solely on the

15   ground that, in its view, compliance with the subpoena would require it to violate

16   Washington’s tax confidentiality statute, RCW 82.32.330. (Id.)

17                                      II.    ANALYSIS

18          In considering a motion to quash a subpoena issued pursuant to Federal Rule of

19   Criminal Procedure 17(c), the court “initially must determine whether the subpoena

20   complies with Rule 17(c), and if so, whether the materials identified therein are

21   privileged.” United States v. Reyes, 239 F.R.D. 591, 597 (N.D. Cal. 2006). Here, DOR

22   does not object to the subpoena for failure to comply with Rule 17(c), nor does it object


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 1   to the scope of the subpoena. (See Mot. at 3 (indicating willingness to comply with the

 2   subpoena separate from concerns about the confidentiality of the tax information under

 3   state law).) Instead, DOR contends that the court should quash the subpoena because it

 4   improperly seeks tax information that, it argues, is privileged pursuant to Washington’s

 5   tax confidentiality statute. (Id.) Thus, the sole question before the court is whether the

 6   state tax information Mr. Paul seeks is protected by privilege.

 7          Assertions of privilege in a federal criminal case are governed by Federal Rule of

 8   Evidence 501. That rule provides, in relevant part, that “[t]he common law—as

 9   interpreted by United States courts in the light of reason and experience—governs a

10   claim of privilege” except if a federal rule, a federal statute, or a constitutional provision

11   states otherwise. Fed. R. Evid. 501. Thus, the rule allows federal courts to develop rules

12   of privilege on a case-by-case basis. Univ. of Pennsylvania v. Equal Employment

13   Opportunity Commission, 493 U.S. 182, 189 (1990). Evidentiary privileges, however,

14   are strongly disfavored in federal practice and must be narrowly drawn because they

15   “contravene the fundamental principle that ‘the public . . . has a right to every man’s

16   evidence.’” Id. (quoting Trammel v. United States, 445 U.S. 40, 50 (1980)). Mindful of

17   this principle, courts will “not create and apply an evidentiary privilege unless it

18   ‘promotes sufficiently important interests to outweigh the need for probative evidence.’”

19   Id. (quoting Trammel, 445 U.S. at 51, and declining to recognize a federal privilege

20   prohibiting disclosure of academic peer review materials). Here, therefore, the court

21   must decide whether a privilege against disclosure of state tax information promotes

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 1   sufficiently important interests to outweigh Mr. Paul’s need for the evidence to prepare

 2   his defense. See Trammel, 445 U.S. at 50.

 3            DOR asserts that this court should recognize a federal evidentiary privilege based

 4   on RCW 83.32.330, Washington’s tax confidentiality statute, which provides that

 5   “[r]eturns and tax information are confidential and privileged, and except as authorized

 6   by this section, neither the department of revenue nor any other person may disclose any

 7   return or tax information.” RCW 83.32.330(2). The definition of “tax information” is

 8   broad, and the parties do not dispute that it encompasses the documents at issue here,

 9   which DOR obtained as a result of its administration of Washington’s excise tax statutes.

10   (See Mot. at 4 (citing RCW 83.32.330(1)(c)). The statute outlines a series of exceptions

11   to the general rule that DOR cannot disclose tax information. See RCW 83.32.330(3);

12   Neither party contends that those exceptions apply here. (See Mot. at 5-6; see generally

13   Resp.)

14            DOR argues that the court’s balancing of the interests should weigh in favor of

15   recognizing a privilege based on RCW 83.32.330 because its confidentiality provisions

16   further two important governmental objectives: the protection of the “privacy interests of

17   persons who are required by law to disclose personal information relating to their

18   finances” and the encouragement of “full and accurate disclosure by persons subject to

19   the mandatory tax reporting requirement.” (Mot. at 5.) Mr. Paul, however, contends that

20   the balance tips in his favor because a finding that the tax records are privileged would

21   violate his constitutional rights to due process and confrontation. (Resp. at 7-8.)

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 1          The court agrees with Mr. Paul. The Due Process Clause entitles criminal

 2   defendants to information that is material or favorable to the defense. See Brady v.

 3   Maryland, 373 U.S. 83, 87 (1963). The Sixth Amendment guarantees the right of an

 4   accused in a criminal prosecution to cross-examine the witnesses who testify against him.

 5   See Davis v. Alaska, 415 U.S. 308, 315-16 (1974). Although DOR’s stated interests in

 6   taxpayer privacy and compliance are undoubtedly important, the court finds that they are

 7   less weighty than the constitutional rights of a criminal defendant to obtain evidence

 8   which bears upon the determination of guilt or punishment and to cross-examine the

 9   Government’s witnesses. See United States v. Crabbe, Criminal Action No.

10   06-cr-00294-PSF, 2007 WL 776322, at *3 (D. Colo. Mar. 9, 2007) (observing that “[a]

11   defendant’s Sixth Amendment right to confrontation may well overcome any state

12   asserted interest in otherwise maintaining the confidentiality of investigatory or other

13   files” and declining to recognize a privilege protecting otherwise confidential complaints

14   made to a state accountancy board). The court therefore declines to recognize a federal

15   privilege based on Washington’s tax confidentiality statute.

16          The court finds support for this conclusion in a recent civil case in which the court

17   refused to recognize a federal evidentiary privilege based on RCW 83.32.330. In Tulalip

18   Tribes v. State of Washington, No. C15-0940BJR, 2016 WL 3906898 (W.D. Wash. Jul.

19   19, 2016), the Tribes contended that certain taxes the state and county imposed on

20   business activities in Quil Ceda Village, a federally recognized municipality on the

21   Tulalip Reservation, were unlawful. Id. at *1. The Tribes moved to compel Washington

22   State and DOR to answer interrogatories and requests for production relating to the state


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 1   and local taxes. Id. The state defendants objected to the Tribes’ discovery requests,

 2   arguing that the information was protected by RCW 83.32.330. Id. at *4. The court

 3   determined that Washington’s interests in maintaining the confidentiality of the tax

 4   records—which, as in this case, included the privacy interests of the taxpayers and the

 5   need to encourage full and accurate disclosure by the taxpayers—were not sufficiently

 6   important to outweigh the Tribes’ need for the information to support their claims. Id.

 7   The court is persuaded that Mr. Paul’s constitutional rights in this criminal case bear even

 8   more weight than the Tribes’ need for tax information in a civil case.

 9          DOR argues that the court should follow the First Circuit Court of Appeals’s

10   holding in In re Hampers, 651 F.2d 19 (1st Cir. 1981), and recognize a qualified federal

11   privilege by analogy to the federal tax confidentiality statute, 26 U.S.C. § 6103. (Mot. at

12   8-10.) The court declines to do so. Section 6103 places restrictions on the disclosure of

13   federal tax information to federal officers and employees for use in non-tax criminal

14   investigations. 26 U.S.C. § 6103(i)(1). In re Hampers and the other cases upon which

15   DOR relies involved subpoenas issued in grand jury investigations that fit squarely within

16   this provision. (See Mot. at 9-10 (citing In re Hampers, 651 F.2d at 20, In re Grand Jury

17   Empanelled January 21, 1981, 535; F. Supp. 537 (D.N.J. 1982); In re Cruz, 561 F. Supp.

18   1042 (D. Conn. 1983); In re Grand Jury Subpoena, 118 F.R.D. 558 (D. Vt. 1987); In re

19   Grand Jury Subpoena Dated November 14, 1989, 728 F. Supp. 368, 370 (W.D. Penn.

20   1990); In re Grand Jury Subpoena, 485 F. Supp. 2d 709 (E.D. Va. 2007).) Unlike the

21   grand juries in these cases, Mr. Paul does not seek tax information for the purpose of

22   advancing a criminal investigation. See Tulalip Tribes, 2016 WL 3906896, at *5


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 1   (recognizing that cases involving grand jury investigations did not apply outside of that

 2   context). To the contrary, Mr. Paul seeks the information to aid in his defense. The

 3   parties’ interests in the grand jury cases, therefore, were very different from the ones at

 4   issue here, which implicate Mr. Paul’s constitutional rights to due process and

 5   confrontation.

 6          Finally, DOR is concerned that compliance with Mr. Paul’s subpoena could

 7   subject its employees to sanctions. RCW 82.32.330(6) provides that if an officer or

 8   employee of the state unlawfully discloses confidential tax information, that person is

 9   guilty of a misdemeanor, must forfeit his or her office or employment, and cannot hold

10   any public office or employment in Washington for a period of two years thereafter. It is

11   well recognized, however, that when a federal court declines to recognize a state’s

12   statutory privilege as a part of federal common law, the state cannot then punish its

13   employees for complying with a federal subpoena. (Resp. at 3); see, e.g., In re Hampers,

14   651 F.2d at 21 (“When compliance with a federal subpoena compelled by the Supremacy

15   Clause is at the same time the only act which could be a violation of state law, there

16   remains no room for state law sanction.”).

17                                     III.   CONCLUSION

18          For the foregoing reasons, the court DENIES DOR’s motion to quash Mr. Paul’s

19   subpoena (Dkt. # 69). DOR shall comply with the subpoena served upon it on September

20   30, 2020, by no later than ten court days from entry of this order.

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 1        Dated this 6th day of November, 2020.

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 3                                                A
                                                  JAMES L. ROBART
 4
                                                  United States District Judge
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